                                      Case 18-21808              Doc 1        Filed 09/06/18           Page 1 of 98


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CPKap, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA College Park Taverna
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12154 Darnestown Road, Ste 621
                                  Gaithersburg, MD 20878
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  7777 Baltimore Avenue College Park, MD 20740
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 18-21808               Doc 1         Filed 09/06/18              Page 2 of 98
Debtor    CPKap, LLC                                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 18-21808                 Doc 1        Filed 09/06/18            Page 3 of 98
Debtor   CPKap, LLC                                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 18-21808                Doc 1        Filed 09/06/18             Page 4 of 98
Debtor    CPKap, LLC                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 6, 2018
                                                  MM / DD / YYYY


                             X   /s/ Johannes Allender                                                    Johannes Allender
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Richard J. Oparil                                                     Date September 6, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard J. Oparil
                                 Printed name

                                 Porzio, Bromberg & Newman, P.C.
                                 Firm name

                                 1200 New Hampshire Avenue, NW
                                 Washington, DC 20036-6802
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      rjoparil@pbnlaw.com

                                 13063
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     CPKap, LLC                                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                   Chapter     11
                                                                                                                     Check if this an
                                                                                                                     amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     14WBella, LLC                                                           Relationship to you
District                                              When                         Case number, if known
Debtor     BallCantina, LLC                                                        Relationship to you
District                                              When                         Case number, if known
Debtor     BallKap, LLC                                                            Relationship to you
District                                              When                         Case number, if known
Debtor     BallNoodle, LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     Masskap, LLC                                                            Relationship to you
District                                              When                         Case number, if known
Debtor     Mike Isabella, Inc.                                                     Relationship to you
District                                              When                         Case number, if known
Debtor     Mosakap, LLC                                                            Relationship to you
District                                              When                         Case number, if known
Debtor     Tyisa, LLC                                                              Relationship to you
District                                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 5
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 6, 2018                       X /s/ Johannes Allender
                                                                       Signature of individual signing on behalf of debtor

                                                                       Johannes Allender
                                                                       Printed name

                                                                       CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                             Case 18-21808                Doc 1         Filed 09/06/18               Page 12 of 98


 Fill in this information to identify the case:
 Debtor name CPKap, LLC
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alsco                                                           Trade Payable                                                                                              $1,860.22
 4900 Philadelphia
 Way
 Lanham, MD 20706
 Baldor Specialty                                                Trade Payable                                                                                              $7,210.15
 Foods, Inc.
 155 Food Center
 Drive
 Bronx, NY 10474
 Breakthrough                                                    Trade Payable                                                                                                $923.01
 Beverage
 PO Box 2088
 West Caldwell, NJ
 07007
 Capital Meat Co.                                                Trade Payable                                                                                              $9,707.72
 P.O. Box 3117
 Hyattsville, MD
 20784
 Congressional                                                   Trade Payable                                                                                              $3,578.83
 Seafood Co., Inc.
 7775 Chesapeake
 Bay Court
 Jessup, MD 20794
 JRS Associates, Inc.                                            Trade Payable                                                                                              $1,549.32
 6393A Rockburn Hill
 Road
 Elkridge, MD 21075
 Julius Silvert, Inc.                                            Trade Payable                                                                                            $14,071.05
 P.O. Box 824559
 Philadelphia, PA
 19182-4559
 Kelly Health                                                    Trade Payable                                                                                                $651.76
 Insurance
 P.O. Box 418926
 Boston, MA
 02241-8926



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                             Case 18-21808                Doc 1         Filed 09/06/18               Page 13 of 98



 Debtor    CPKap, LLC                                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 LDV Imports                                                     Trade Payable                                                                                              $1,082.00
 130 West 25th
 Street, Floor 7
 New York, NY 10001
 Mayflowers                                                      Trade Payable                                                                                              $7,704.00
 11959 Market Street
 Reston, VA 20190
 Nicholas Pagonis                                                Loan                                                                                                     $22,360.64
 1111 W. St NW, Apt
 8
 Washington, DC
 20009
 Olympus Food                                                    Trade Payable                                                                                                $866.58
 Distributors, Inc.
 621 South Pickett
 Street
 Alexandria, VA
 22304-4619
 Open Table                                                      Trade Payable                                                                                              $3,259.75
 29109 Network
 Place
 Chicago, IL
 60673-1291
 Oracle America, Inc.                                            Trade Payable                                                                                            $28,328.49
 P.O. Box 203448
 Dallas, TX
 75320-3448
 Potomac Exhaust,                                                Trade Payable                                                                                              $2,900.00
 Inc.
 1775 West Mt.
 Harmony Road
 Owings, MD 20736
 Republic National                                               Trade Payable                                                                                                $973.95
 Distributing
 Company
 P.O. Box 687
 Annapolis Junction,
 MD 20701-0687
 Samuels & Son                                                   Trade Payable                                                                                              $4,063.26
 Seafood Co.
 3400 S Lawrence St
 Philadelphia, PA
 19148
 Southern                                                        Management                                                                                             $137,656.85
 Management                                                      Company
 Corporation
 Attn: Michelle
 Walker
 1950 Old Gallows
 Road, Suite 600
 Vienna, VA 22182



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    CPKap, LLC                                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 The General Design                                              Trade Payable                                                                                              $5,000.00
 Company LLC
 406 H St NE, 2nd Fl
 Washington, DC
 20002
 VI Imports, Inc.                                                Trade Payable                                                                                              $5,335.83
 19220 Orbit Drive
 Gaithersburg, MD
 20879




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            CPKap, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            88,728.26

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            88,728.26


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           369,344.86


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             369,344.86




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $600.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     EagleBank                                               Checking                        6511                                    $10,902.40




           3.2.     EagleBank                                               Checking                        4495                                     $1,536.49




           3.3.     TD Bank                                                 Checking                        0040                                     $2,659.37



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $15,698.26
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor           CPKap, LLC                                                                     Case number (If known)
                  Name




           7.1.     Landlord Security Deposit                                                                                             $25,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                           $25,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Perishable Goods that
           Landlord has onsite                        07/31/2018                         $16,660.00     Recent cost                       $16,660.00




 23.       Total of Part 5.                                                                                                           $16,660.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                        Case 18-21808                Doc 1      Filed 09/06/18        Page 18 of 98

 Debtor         CPKap, LLC                                                                    Case number (If known)
                Name

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Kitchen and computer equipment. Landlord
            has all fixed assets onsite.                                              $31,370.00      Recent cost                       $31,370.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                           $31,370.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         CPKap, LLC                                                                    Case number (If known)
                Name

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Internet Domain                                                            Unknown                                           Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor          CPKap, LLC                                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $15,698.26

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $25,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $16,660.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $31,370.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $88,728.26          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $88,728.26




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Adonaldo Navarro                                          Check all that apply.
           3335 Buchanan St                                             Contingent
           Hyattsville, MD 20781                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Alec Perez                                                Check all that apply.
           7509 Dickinson Ave                                           Contingent
           College Park, MD 20740                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alejandro Amaya                                            Check all that apply.
          1701 Mt Pisgah Ln                                             Contingent
          Silver Spring, MD 20903                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alejandro Cortez                                           Check all that apply.
          5201 Quincy St                                                Contingent
          Apt 202                                                       Unliquidated
          Bladensburg, MD 20710                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alejandro R Salas Vasquez                                  Check all that apply.
          2918 Cheverly Oak Ct                                          Contingent
          Cheverly, MD 20785                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alex Ardon                                                 Check all that apply.
          7201 Claymore Ave                                             Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alexis B Fernandez Bonilla                                 Check all that apply.
          16107 Pointer Ridge Dr                                        Contingent
          BOWIE, MD 20716                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alfredo Velasco Nanduca                                    Check all that apply.
          5911 Cherrywood Ln                                            Contingent
          Apt 103                                                       Unliquidated
          Greenbelt, MD 20770                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Amilcar A Romero                                           Check all that apply.
          3314 Buchanan St                                              Contingent
          Hyattsville, MD 20781                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Amilcar E Vides Portillo                                   Check all that apply.
          102 Ames Rd                                                   Contingent
          Silver Spring, MD 20903                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Andrew C Lopez                                             Check all that apply.
          7413 Columbia Ave                                             Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Angela e Herrera                                           Check all that apply.
          5504 7th St NW                                                Contingent
          Apt 21                                                        Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Antonio Giron                                              Check all that apply.
          3636 16th St NW                                               Contingent
          A-758                                                         Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Arely C Blanco                                             Check all that apply.
          3221 Toledo Pl                                                Contingent
          Apt T-3                                                       Unliquidated
          Hyattsville, MD 20782                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Beelshaday D Habtu                                         Check all that apply.
          704 Kennebec Ave                                              Contingent
          Apt 1                                                         Unliquidated
          Takoma Park, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Blanca M Herrera                                           Check all that apply.
          5047 Bradley Blvd                                             Contingent
          Apt 1                                                         Unliquidated
          Chevy Chase, MD 20815                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Brandt M Wootan                                            Check all that apply.
          8409 Potomac Ave                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Bryan A Flores                                             Check all that apply.
          9600 Linwood Ave                                              Contingent
          LANHAM, MD 20706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 5 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Bryant A Herrera                                           Check all that apply.
          4601 Greenwood Rd                                             Contingent
          Beltsville, MD 20705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Camila A Rudas                                             Check all that apply.
          7965 Quarterfield Rd                                          Contingent
          Severn, MD 21144                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Carlos A Escoto Hernandez                                  Check all that apply.
          11903 Centerhill St                                           Contingent
          Silver Spring, MD 20902                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Caroline E Newhoff                                         Check all that apply.
          4517 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Charles H Baker                                            Check all that apply.
          5613 Osage St                                                 Contingent
          Berwyn Heights, MD 20740                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Christian B Plowman                                        Check all that apply.
          7904 Pepperbox Ln                                             Contingent
          Pasadena, MD 21122                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Christopher B Shahmohammadi                                Check all that apply.
          7603 Eastern Ave                                              Contingent
          Apt 104                                                       Unliquidated
          Takoma Park, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Cristian E Membreno Rodriguez                              Check all that apply.
          2113 Guilford Rd                                              Contingent
          Apt #301                                                      Unliquidated
          HYATTSVILLE, MD 20783                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 7 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Daniela Bonilla Benavides                                  Check all that apply.
          5708 Kennedy St                                               Contingent
          East Riverdale, MD 20737                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Danielle D Draper                                          Check all that apply.
          1294 Swan Dr                                                  Contingent
          Annapolis, MD 21409                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Danna L Suazo Mendonza                                     Check all that apply.
          6735 New Hampshire Ave                                        Contingent
          Takoma Park, MD 20912                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Dave M Descollines                                         Check all that apply.
          16111 Dorset Rd                                               Contingent
          Laurel, MD 20707                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 8 of 43
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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Diana S Salazar Villeda                                    Check all that apply.
          2005 Erie St                                                  Contingent
          Apt 204                                                       Unliquidated
          Adelphi, MD 20783                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Drusila M Updegrove                                        Check all that apply.
          4506 Guilford Rd                                              Contingent
          Apt B                                                         Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Dustin Cohen                                               Check all that apply.
          7316 Baylor Ave                                               Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Dylan T Kitts                                              Check all that apply.
          5007 Delaware St                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Edgar F Lozano                                             Check all that apply.
          8060 13th St                                                  Contingent
          Apt 603                                                       Unliquidated
          Silver Spring, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Edras J Portillo Guerra                                    Check all that apply.
          2006 Oglethorpe St                                            Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Edwin I Ochoa                                              Check all that apply.
          11384 Cherry Hill Rd                                          Contingent
          Beltsville, MD 20705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Eliot H Goodman                                            Check all that apply.
          3412 Anderson Rd                                              Contingent
          Kensington, MD 20895                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Elvis A Fernandez Bonilla                                  Check all that apply.
          16107 Pointer Ridge Dr                                        Contingent
          Bowie, MD 20716                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emanuel T Pagonis                                          Check all that apply.
          4399 Hartwick Rd                                              Contingent
          Apt 1524A                                                     Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emelyn Amaya                                               Check all that apply.
          6421 Fairbanks St                                             Contingent
          New Carrollton, MD 20784                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emily A Goslin                                             Check all that apply.
          4500 College Ave                                              Contingent
          Apt 4105B                                                     Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emily Proctor                                              Check all that apply.
          4313 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emily R Lisanti                                            Check all that apply.
          7521 Rhode Island Ave                                         Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emma J Schwartz                                            Check all that apply.
          4300 Hartwick Rd                                              Contingent
          2-2314D                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Erika R Nepomuceno                                         Check all that apply.
          9313 Elgin Ln                                                 Contingent
          Frederick, MD 21704                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Esmeralda Flores                                           Check all that apply.
          4409 54th Pl                                                  Contingent
          Bladensburg, MD 20710                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Evan J Skoparantzos                                        Check all that apply.
          7509 Dickinson Ave                                            Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Evelin M Juarez                                            Check all that apply.
          3115 Rosemary Ln                                              Contingent
          Hyattsville, MD 20783                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Fasika K Telila                                            Check all that apply.
          11661 Lockwood Dr                                             Contingent
          Silver Spring, MD 20904                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Francesca D Moquete                                        Check all that apply.
          4914 Quimby Ave                                               Contingent
          BELTSVILLE, MD 20705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Francisco Velasco N                                        Check all that apply.
          5911 Cherrywood Ln                                            Contingent
          Apt 103                                                       Unliquidated
          GREENBELT, MD 20770                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Gerson D Mendez Ruiz                                       Check all that apply.
          3303 Chauncy Pl                                               Contingent
          Apt 201                                                       Unliquidated
          Mount Rainier, MD 20712                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Haley Caudell                                              Check all that apply.
          3708 37th Ave                                                 Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Harper Sigman                                              Check all that apply.
          4517 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hayes M Linebaugh                                          Check all that apply.
          2023 Hanover St                                               Contingent
          Silver Spring, MD 20910                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Heidy Lazo Ayala                                           Check all that apply.
          3334 Chauncey Pl                                              Contingent
          Apt 103                                                       Unliquidated
          Hyattsville, MD 20712                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hernan Dario Arana-Rojas                                   Check all that apply.
          13704 Hobart Drive                                            Contingent
          Silver Spring, MD 20904                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Herson A Viera                                             Check all that apply.
          5617 Emack Ave                                                Contingent
          Lanham, MD 20706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Imari A Riley                                              Check all that apply.
          126 Bent Twig Ln                                              Contingent
          Gaithersburg, MD 20878                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Isaac R Sherman                                            Check all that apply.
          13523 Edgemont Rd                                             Contingent
          Smithsburg, MD 21783                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ivy Yen                                                    Check all that apply.
          4302 Guilford Dr                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jacob L Nudelman                                           Check all that apply.
          8900 37th Ave                                                 Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jennifer N Bibiano                                         Check all that apply.
          4207 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jessica L Cotugno                                          Check all that apply.
          4313 Knox Rd                                                  Contingent
          Apt 616                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jessica Thompson                                           Check all that apply.
          4500 College Ave                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Joanne L Lam                                               Check all that apply.
          4207 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Joel D Lindsey                                             Check all that apply.
          4907 Osage St                                                 Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Johanna A Holder                                           Check all that apply.
          24606 Farmview Ln                                             Contingent
          Damascus, MD 20872                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jonathan K Rosales                                         Check all that apply.
          4800 Berwyn House Rd                                          Contingent
          Apt 506                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jorge Martin DelCampo Hernandez                            Check all that apply.
          8710 49th Ave                                                 Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose Flores                                                Check all that apply.
          1220 12th St NW                                               Contingent
          Apt 112                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Joseph A Foley                                             Check all that apply.
          8204 Baltimore Ave                                            Contingent
          Apt 1209B                                                     Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Josue E Castillo Marquez                                   Check all that apply.
          11503 Elkin St                                                Contingent
          Apt 203                                                       Unliquidated
          Silver Spring, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Josue Guevara                                              Check all that apply.
          3109 Queens Chapel Rd                                         Contingent
          Apt 203                                                       Unliquidated
          Mount Rainier, MD 20712                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan A Rivera                                              Check all that apply.
          2508 Avalon Pl                                                Contingent
          Hyattsville, MD 20783                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Julia T Pennington                                         Check all that apply.
          1159 Taji Ct                                                  Contingent
          Herndon, VA 20170                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Julian Lopez                                               Check all that apply.
          4828-4830 Fort Totten Dr NE                                   Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Julio C Benitez Rivera                                     Check all that apply.
          9212 3rd St                                                   Contingent
          Lanham, MD 20706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Justin T Field                                             Check all that apply.
          17808 Bromfield Pl                                            Contingent
          GERMANTOWN, MD 20874                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Katauyoun Ghayour                                          Check all that apply.
          153 Watkins Station Cir                                       Contingent
          #E                                                            Unliquidated
          Gaithersburg, MD 20879                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kelsey E Willis                                            Check all that apply.
          226 Dubois Rd                                                 Contingent
          Annapolis, MD 21401                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kerwin A Velasquez                                         Check all that apply.
          5711 Jamestown Rd                                             Contingent
          Apt 3                                                         Unliquidated
          Hyattsville, MD 20782                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kira B Vasquez                                             Check all that apply.
          8400 Boteler Ln                                               Contingent
          Apt 436                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kitburi Q Mackenzie                                        Check all that apply.
          4823 Kansas Ave NW                                            Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Laura A Barber                                             Check all that apply.
          4207 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Laura E Poulsen                                            Check all that apply.
          4907 Osage St                                                 Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Laura R Spector                                            Check all that apply.
          323 Alderwood Dr                                              Contingent
          Gaithersburg, MD 20878                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Laura Rodriguez                                            Check all that apply.
          11040 Wickshire Way                                           Contingent
          Rockville, MD 20852                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lauren E Roche                                             Check all that apply.
          15991 High Forest Ct                                          Contingent
          Dayton, MD 21036                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lauren Freed                                               Check all that apply.
          7302 Yale Ave                                                 Contingent
          Apt 107                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Leticia Hernandez                                          Check all that apply.
          6902 Good Luck Rd                                             Contingent
          Lanham, MD 20706                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lindsey H Lamothe                                          Check all that apply.
          1707 Merrimac Dr                                              Contingent
          Hyattsville, MD 20783                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ludin A Perez                                              Check all that apply.
          14203 Georgia Ave                                             Contingent
          Apt 304                                                       Unliquidated
          Silver Spring, MD 20906                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maraide Cifelli                                            Check all that apply.
          4313 Knox Rd                                                  Contingent
          Apt 616                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Margo Huffman                                              Check all that apply.
          2561 Cedar Ridge Dr                                           Contingent
          Westminster, MD 21158                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria D Alfaro                                             Check all that apply.
          12035 Veirs Mill Rd                                           Contingent
          Apt 202                                                       Unliquidated
          Silver Spring, MD 20906                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria D Romero                                             Check all that apply.
          2706 Kirkwood Pl                                              Contingent
          Apt 202                                                       Unliquidated
          Hyattsville, MD 20782                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria O Argueta Chinas                                     Check all that apply.
          5047 Bradley Blvd                                             Contingent
          Chevy Chase, MD 20815                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mariah D Sakellaris                                        Check all that apply.
          4300 Hartwick Rd                                              Contingent
          Apt 2207                                                      Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mariana Avila                                              Check all that apply.
          4500 College Ave                                              Contingent
          4170A                                                         Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maribel Arroyo Grajales                                    Check all that apply.
          4239 58th Ave                                                 Contingent
          Apt 5                                                         Unliquidated
          Bladensburg, MD 20710                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marta Flis                                                 Check all that apply.
          91122 Baltimore Ave                                           Contingent
          Apt 3011                                                      Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Matthew J Gessner                                          Check all that apply.
          6100 44th Pl                                                  Contingent
          Riverdale Park, MD 20737                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mauricio J Cordeiro                                        Check all that apply.
          701 Guilford St                                               Contingent
          Silver Spring, MD 20901                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mauricio Rodriguez                                         Check all that apply.
          3314 Buchanan St                                              Contingent
          Apt 201                                                       Unliquidated
          Mount Rainier, MD 20712                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mayra L Meijia Aguillon                                    Check all that apply.
          315 Franklin St NE                                            Contingent
          Apt. 202                                                      Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mehmet C Sahin                                             Check all that apply.
          7524 Heatherton Ln                                            Contingent
          Potomac, MD 20854                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Melinda V De Haven Hadgopoulos                             Check all that apply.
          9617 52nd Ave                                                 Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Melvy A Vasquez                                            Check all that apply.
          3620 16th St NW                                               Contingent
          #B1                                                           Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Michael A Ways Ayala                                       Check all that apply.
          9309 St Andrews Pl                                            Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mikayla Saur                                               Check all that apply.
          1 Ashland Brooke Ct                                           Contingent
          Olney, MD 20832                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mirna Guevara                                              Check all that apply.
          3109 Queens Chapel Rd                                         Contingent
          Apt 203                                                       Unliquidated
          Mount Rainier, MD 20712                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Molly L Alkon                                              Check all that apply.
          14728 Maine Cove Terrace                                      Contingent
          North Potomac, MD 20878                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Natalie E Todd                                             Check all that apply.
          7201 Princeton Ave                                            Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Olivero J Suarez                                           Check all that apply.
          1220 12th St NW                                               Contingent
          Apt 112                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Olivia L Duley                                             Check all that apply.
          7201 Princeton Ave                                            Contingent
          Apt 10                                                        Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Paula G Alcantar                                           Check all that apply.
          7915 24th Ave                                                 Contingent
          Hyattsville, MD 20783                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rafael F Ortiz                                             Check all that apply.
          4815 Iowa Ave NW                                              Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Reuben Raysor                                              Check all that apply.
          6210 Belcrest Rd #1544                                        Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rick M Tagne Teta                                          Check all that apply.
          1949 Timber Grove Rd                                          Contingent
          Frederick, MD 21702                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          ROCHELLE L COOPER                                          Check all that apply.
          7611 MAPLE AVE                                                Contingent
          APT 40                                                        Unliquidated
          TAKOMA PARK, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rolando F Diaz Garcia                                      Check all that apply.
          4313 57th Ave                                                 Contingent
          Apt 9                                                         Unliquidated
          Bladensburg, MD 20710                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Romeo S Diaz Arriaga                                       Check all that apply.
          4014 Hillwood Ct                                              Contingent
          CALVERTON, MD 20705                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Roshan N Nayak                                             Check all that apply.
          2745 Emma Stone Drive                                         Contingent
          Marriottsville, MD 21104                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rosita Santiago Guerra                                     Check all that apply.
          6910 Randolph St                                              Contingent
          Landover Hills, MD 20784                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Roxana P Servellon Ramirez                                 Check all that apply.
          434 S Wakefield St                                            Contingent
          Apt A                                                         Unliquidated
          ARLINGTON, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Samuel Hernandez                                           Check all that apply.
          5732 Crestwood Pl                                             Contingent
          East Riverdale, MD 20737                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sanchali Singh                                             Check all that apply.
          8300 Baltimore Ave                                            Contingent
          Apt 806                                                       Unliquidated
          College Park, MD 20740                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sara Navi                                                  Check all that apply.
          4300 Hartwick Rd                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sarah E Mangan                                             Check all that apply.
          4517 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sarah Wolkoff                                              Check all that apply.
          4517 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Saul Castillo                                              Check all that apply.
          11503 Elkin St                                                Contingent
          Apt 203                                                       Unliquidated
          Silver Spring, MD 20902                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Selvin Garcia                                              Check all that apply.
          1220 12th St NW                                               Contingent
          Apt 112                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Silvia Herrera                                             Check all that apply.
          5047 Bradley Blvd                                             Contingent
          Apt 1                                                         Unliquidated
          Chevy Chase, MD 20815                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Stacey B Cristales                                         Check all that apply.
          5420 85th Ave                                                 Contingent
          Apt 201                                                       Unliquidated
          New Carrollton, MD 20784                                      Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Stephen W Brock                                            Check all that apply.
          407 Postgate Terrace                                          Contingent
          Apt 402                                                       Unliquidated
          Silver Spring, MD 20906                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Susana D Saldana                                           Check all that apply.
          9724 Wichita Ave                                              Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Talula R Miller                                            Check all that apply.
          4154 Knox Rd                                                  Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Taylor N Bowen                                             Check all that apply.
          211 Carroll Avenue                                            Contingent
          Mount Airy, MD 21771                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Timothy F Galvin                                           Check all that apply.
          306 16th St NE                                                Contingent
          Washington, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Timothy P Behrend                                          Check all that apply.
          4511 Riverdale Rd                                             Contingent
          Riverdale Park, MD 20737                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
              Name

 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tireek Myrick                                              Check all that apply.
          2512 Virginia Ave NW                                          Contingent
          Apt 58097                                                     Unliquidated
          Washington, DC 20037                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Vanessa Rios Nieves                                        Check all that apply.
          5421 16th Ave                                                 Contingent
          Apt 202                                                       Unliquidated
          Hyattsville, MD 20783                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Victor A Bonilla                                           Check all that apply.
          1610 Park Rd NW                                               Contingent
          Apt 422                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Vladimir Pleitez                                           Check all that apply.
          2326 Georgian Woods Pl                                        Contingent
          Silver Spring, MD 20902                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          William A Rivas Acosta                                     Check all that apply.
          102 Ames Rd                                                   Contingent
          Apt E                                                         Unliquidated
          Silver Spring, MD 20903                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          William Mendoza                                            Check all that apply.
          4200 East-West Hwy                                            Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Yader Rodriguez                                            Check all that apply.
          3314 Buchanan St                                              Contingent
          Hyattsville, MD 20781                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Yakntoro Udoumoh                                           Check all that apply.
          10521 Truxton Rd                                              Contingent
          Adelphi, MD 20783                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       CPKap, LLC                                                                                      Case number (if known)
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 2.151     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Yury H Godoy                                              Check all that apply.
           3636 16th St NW                                              Contingent
           B-904                                                        Unliquidated
           Washington, DC 20010                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.152     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Zack A Miller                                             Check all that apply.
           7504 Dickinson Ave                                           Contingent
           College Park, MD 20740                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,860.22
           Alsco                                                                       Contingent
           4900 Philadelphia Way                                                       Unliquidated
           Lanham, MD 20706                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $7,210.15
           Baldor Specialty Foods, Inc.                                                Contingent
           155 Food Center Drive                                                       Unliquidated
           Bronx, NY 10474                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $923.01
           Breakthrough Beverage                                                       Contingent
           PO Box 2088                                                                 Unliquidated
           West Caldwell, NJ 07007                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor       CPKap, LLC                                                                              Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $460.00
          Brent A. Sullivan, LLC                                                Contingent
          P.O. Box 90900                                                        Unliquidated
          Washington, DC 20090                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,707.72
          Capital Meat Co.                                                      Contingent
          P.O. Box 3117                                                         Unliquidated
          Hyattsville, MD 20784                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,578.83
          Congressional Seafood Co., Inc.                                       Contingent
          7775 Chesapeake Bay Court                                             Unliquidated
          Jessup, MD 20794                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136.00
          Elite Wines                                                           Contingent
          505 Hampton Park Blvd, Suite D                                        Unliquidated
          Capitol Heights, MD 20743                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315.00
          Grinding Co. of America                                               Contingent
          105 Annabel Avenue                                                    Unliquidated
          Brooklyn, MD 21225                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,549.32
          JRS Associates, Inc.                                                  Contingent
          6393A Rockburn Hill Road                                              Unliquidated
          Elkridge, MD 21075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,071.05
          Julius Silvert, Inc.                                                  Contingent
          P.O. Box 824559                                                       Unliquidated
          Philadelphia, PA 19182-4559                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       CPKap, LLC                                                                              Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $651.76
          Kelly Health Insurance                                                Contingent
          P.O. Box 418926                                                       Unliquidated
          Boston, MA 02241-8926                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,082.00
          LDV Imports                                                           Contingent
          130 West 25th Street, Floor 7                                         Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Masskap, LLC                                                          Contingent
          12154 Darnestown Road, Ste 621                                        Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,704.00
          Mayflowers                                                            Contingent
          11959 Market Street                                                   Unliquidated
          Reston, VA 20190                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,298.03
          Mike Isabella, Inc.                                                   Contingent
          12154 Darnestown Road, Ste 621                                        Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,360.64
          Nicholas Pagonis                                                      Contingent
          1111 W. St NW, Apt 8                                                  Unliquidated
          Washington, DC 20009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $866.58
          Olympus Food Distributors, Inc.                                       Contingent
          621 South Pickett Street                                              Unliquidated
          Alexandria, VA 22304-4619                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       CPKap, LLC                                                                              Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,259.75
          Open Table                                                            Contingent
          29109 Network Place                                                   Unliquidated
          Chicago, IL 60673-1291                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,328.49
          Oracle America, Inc.                                                  Contingent
          P.O. Box 203448                                                       Unliquidated
          Dallas, TX 75320-3448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,900.00
          Potomac Exhaust, Inc.                                                 Contingent
          1775 West Mt. Harmony Road                                            Unliquidated
          Owings, MD 20736                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $329.16
          Prestige Beverage Group                                               Contingent
          6735-A Business Parkway                                               Unliquidated
          Elkridge, MD 21075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $973.95
          Republic National Distributing Company                                Contingent
          P.O. Box 687                                                          Unliquidated
          Annapolis Junction, MD 20701-0687                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $561.31
          Roberts Oxygen Company, Inc.                                          Contingent
          P.O. Box 5507                                                         Unliquidated
          Derwood, MD 20855                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,063.26
          Samuels & Son Seafood Co.                                             Contingent
          3400 S Lawrence St                                                    Unliquidated
          Philadelphia, PA 19148                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       CPKap, LLC                                                                              Case number (if known)
              Name

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $161.95
           Southern Glazer's of MD                                              Contingent
           P.O. Box 9207                                                        Unliquidated
           Dundalk, MD 21222-0207                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $137,656.85
           Southern Management Corporation                                      Contingent
           Attn: Michelle Walker                                                Unliquidated
           1950 Old Gallows Road, Suite 600                                     Disputed
           Vienna, VA 22182
                                                                             Basis for the claim:    Management Company
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,000.00
           The General Design Company LLC                                       Contingent
           406 H St NE, 2nd Fl                                                  Unliquidated
           Washington, DC 20002                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,335.83
           VI Imports, Inc.                                                     Contingent
           19220 Orbit Drive                                                    Unliquidated
           Gaithersburg, MD 20879                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       369,344.86

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          369,344.86




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 43 of 43
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Rent
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Hotel at UMCP, LLC
                                                                                    Attn: David Hillman
             List the contract number of any                                        1950 Old Gallows Road, Suite 600
                   government contract                                              Vienna, VA 22182




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         CPKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,022,901.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $560,929.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Southern Management Corporation                                                              $23,980.86           Secured debt
               Attn: Michelle Walker                                                                                             Unsecured loan repayments
               1950 Old Gallows Road, Suite 600
                                                                                                                                 Suppliers or vendors
               Vienna, VA 22182
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       CPKap, LLC                                                                                Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Julius Silvert, Inc.                                                                         $21,331.24           Secured debt
               P.O. Box 824559                                                                                                   Unsecured loan repayments
               Philadelphia, PA 19182-4559
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Baldor Specialty Foods, Inc.                                                                 $19,064.38           Secured debt
               155 Food Center Drive                                                                                             Unsecured loan repayments
               Bronx, NY 10474
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Adams-Burch Lender                                                                           $17,934.06           Secured debt
               1901 Stanford Court                                                                                               Unsecured loan repayments
               Hyattsville, MD 20785
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Capital Meat Co.                                                                             $16,109.78           Secured debt
               P.O. Box 3117                                                                                                     Unsecured loan repayments
               Hyattsville, MD 20784
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Samuels & Son Seafood Co.                                                                    $12,782.30           Secured debt
               3407 S Lawrence St                                                                                                Unsecured loan repayments
               Philadelphia, PA 19148
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Alsco                                                                                          $8,487.93          Secured debt
               4900 Philadelphia Way                                                                                             Unsecured loan repayments
               Lanham, MD 20706
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Olympus Food Distributors, Inc.                                                                $6,767.20          Secured debt
               621 South Pickett Street                                                                                          Unsecured loan repayments
               Alexandria, VA 22304-4619
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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 Debtor      CPKap, LLC                                                                                 Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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 Debtor      CPKap, LLC                                                                                     Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                     lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                 Total amount or
                the transfer?                                                                                                                                 value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers             Total amount or
                                                                                                                         were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange                was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services               If debtor provides meals
                                                                 the debtor provides                                                        and housing, number of
                                                                                                                                            patients in debtor’s care

 Part 9:      Personally Identifiable Information

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 Debtor      CPKap, LLC                                                                                 Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
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 Debtor      CPKap, LLC                                                                                 Case number (if known)



      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Johannes Allender
                    117 Kent Oaks Way
                    Gaithersburg, MD 20878

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why



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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Johannes Allender
                    117 Kent Oaks Way
                    MD 20870

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Mark Petonito
       .                                                                                     07/31/2018              16,660

                Name and address of the person who has possession of
                inventory records
                Mark Petonito
                7777 Baltimore Avenue
                College Park, MD 20740


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mike Isabella Jr.                              775 Pearl Street, SW #709                           CEO of Mike Isabella                  100%
                                                      Washington, DC 20024                                Concepts



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.


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 Debtor      CPKap, LLC                                                                                 Case number (if known)



    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 6, 2018

 /s/ Johannes Allender                                                  Johannes Allender
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                         District of Maryland
 In re      CPKap, LLC                                                                                                Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Mike Isabella, Inc.                                                 Ownership        100%                                       100%
 12154 Darnestown Road, Ste 621
 Gaithersburg, MD 20878


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CFO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 6, 2018                                                      Signature /s/ Johannes Allender
                                                                                            Johannes Allender

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                      District of Maryland
 In re      CPKap, LLC                                                                             Case No.
                                                                                Debtor(s)          Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       September 6, 2018                                       /s/ Johannes Allender
                                                                     Johannes Allender/CFO
                                                                     Signer/Title




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                                                               United States Bankruptcy Court
                                                                        District of Maryland
 In re      CPKap, LLC                                                                                   Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CPKap, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Mike Isabella, Inc.
 12154 Darnestown Road, Ste 621
 Gaithersburg, MD 20878




    None [Check if applicable]




 September 6, 2018                                                   /s/ Richard J. Oparil
 Date                                                                Richard J. Oparil
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for CPKap, LLC
                                                                     Porzio, Bromberg & Newman, P.C.
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